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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION



    THE STATE OF TEXAS, et al.,                    §
                                                   §
             Plaintiffs,                           §
    v.                                             §
                                                   §          Civil Action No. 4:20-CV-957-SDJ
    GOOGLE LLC,                                    §
                                                   §
             Defendant.                            §



    GOOGLE LLC’S APPLICATION FOR STATUS AND SCHEDULING CONFERENCE

            Pursuant to Federal Rule 16, Defendant Google LLC respectfully requests that the Court

set a Scheduling and Status Conference on January 17, 2025, or a date as soon thereafter as is

convenient to the Court to address important unresolved issues relevant to the parties’ preparation

of the Joint Pretrial Order, presently scheduled to be filed on February 28, 2025. 1 In support of this

request, Google identifies the following issues it wishes to discuss:

         1. Subject Matter Jurisdiction

            Whether this Court has subject matter jurisdiction is an issue that remains unresolved. See

ECF No. 200 (1/16/2024 Rule 12(b)(1) Motion challenging the States’ Article III standing to sue);

ECF No. 672, 674 (11/18/2024 Motions for Summary Judgment challenging same). This threshold

issue should be resolved before the Court and the parties expend the significant resources

necessary to prepare and present this case for trial. No good purpose is served by trying the case

in this Court if it lacks subject matter jurisdiction. As the Fifth Circuit has explained, “Federal



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 Pursuant to the existing Scheduling Order, the final pretrial conference is set for March 27-28,
2025, three days before trial begins on March 31, 2025.
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courts, both trial and appellate, have a continuing obligation to examine the basis for their

jurisdiction. The issue may be raised by parties, or by the court sua sponte, at any time.” MCG,

Inc. v. Great Western Energy Corp., 896 F.2d 170, 173 (5th Cir. 1990). Dismissal is appropriate

“‘when the court lacks the statutory or constitutional power to adjudicate’ the claim.” In re Federal

Emergency Management Agency Trailer Formaldehyde Products Liability Litigation, 668 F.3d

281, 286 (5th Cir. 2012) (quoting Home Builders Association Inc. v. City of Madison, 143 F.3d

1006, 1010 (5th Cir. 1998)).

   2. Which, if Any, Claims Will be Tried

       Google filed a Rule 12(b)(6) motion to dismiss Plaintiffs’ Fourth Amended Complaint on

February 8, 2024. See ECF No. 224. That motion remains unresolved. To prepare the Joint Pretrial

Order, the parties need to know which (if any) of Plaintiffs’ claims have survived that motion.

   3. Jury or Non-Jury Case and Bifurcated Trial

       Pursuant to this Court’s decision in Wagoneka v. KT & G USA Corp., 2020 WL 6063096

(E.D. Tex. Oct. 14, 2020), on October 17, 2024, Google filed a motion for further bifurcation

pursuant to Federal Rule of Civil Procedure 42(b). See ECF No. 635. In it, Google argued that if a

jury is permitted to decide any issue in this case, it must first decide liability separately. This

ensures that the decision as to whether any of Google’s practices violated DTPA statutes is not

tainted by the admission of evidence relevant solely to the assessment of penalties.

       Following the November Status Conference, and after discussing the matter with the Court,

on December 1, 2024, Google filed an additional motion asking the Court to strike the jury as to

all claims. See ECF No. 690. That motion will be fully briefed on January 13, 2025.

       The components of a Joint Pretrial Order differ depending on whether, and to what extent,

the case is tried to a jury or to the Court. A jury trial requires the submission of Joint Proposed



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Jury Instructions and Verdict Form, while a non-jury trial requires the submission of Proposed

Findings of Fact and Conclusions of Law. See ECF No. 194 (1/2/2024 Scheduling Order

mandating components of Joint Pretrial Order). Bifurcation of a jury trial, if this case is tried to a

jury, also affects the voir dire questions submitted to the venire, the preliminary instructions,

motions in limine, the scope of exhibits and objections, and the Joint Statement of the Case.

       Clarity on how the case will be tried (if any claims survive dismissal or summary judgment)

would assist the parties in drafting the Joint Pretrial Order.

       4.      Schedule to Brief Unresolved Questions of Law

       At the November Status Conference, the Court recognized that the States’ assertion of

claims under seventeen different state DTPA statutes raised difficult legal issues the Court would

need to decide prior to trial, including “how proof is going to be made on violations and the nature

of penalties in relation to violations.” See 11/12/2024 Hrg. Tr. at 39. As Google explained at the

conference one (among many) critical issues is whether the States can proceed on claims “asking

for multi-billion dollar penalties with no proof of harm … and can this federal court even entertain

that.” Id. at 39; see also ECF No. 636 (10/17/2024 Status Conference Request) at ¶ 3 (discussing

unresolved legal issues raised by States’ DTPA claims, including what “counts” as a violation of

each statute, how violations are to be “counted” for purposes of imposing penalties, and whether

monetary penalties can be imposed on a “per violation” basis in the absence of proof of

individualized harm to ad buyers and ad sellers, as the States claim) (citing In re Zyprexa Products

Liability Litig., 671 F. Supp. 2d 397, 463 (E.D.N.Y. 2009) (granting summary judgment against

demand for per violation penalties under Mississippi’s DTPA because there was no evidence of

individualized harm, so resulting penalties would violate Due Process and Excessive Fines Clauses

and citing, among other cases, United States v. Bajakajian, 524 U.S. 321, 334-41 (1998))).



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        Concerning this issue, the Court informed the parties that it would make time to address

these legal issues “before we’re starting trial,” so that—as to any claims that survive dismissal and

summary judgment—all parties would know before any trial commenced “how liability must be

proved” for each DTPA statute. See 11/12/2024 Hrg. Tr. at 41. It would therefore be helpful to set

an early conference, at which the Court could establish a briefing and hearing schedule to resolve

any important legal issues that remain to be addressed after the dismissal and summary judgment

rulings, preferably in advance of the Joint Pretrial Order, which is currently due on February 28,

2025. ECF No. 194 at 4. Google respectfully submits that there should be no ambiguity when trial

begins about what the States must prove and whether they can demand multi-billion dollar

penalties without proof that those penalties are, as Bajakajian requires, proportional to the harm

(if any) the States prove Google caused. 2

        5.     Chats Spoliation Motion

        On December 9, 2024, Plaintiffs filed a Rule 37 Motion for spoliation sanctions. See ECF

No. 693. Google contends that this motion is untimely and that no relief is warranted. See ECF

No. 757. Plaintiffs’ Reply in support of this motion is due on January 13, 2025. Google’s related

motions to exclude Plaintiffs’ newly designated “spoliation” experts, each of whom authored

declarations in support of Plaintiffs’ spoliation motion, will be fully briefed on February 7, 2025.


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  These are all legal questions only the Court can answer. “Questions of statutory interpretation
are questions of law.” Oliver v. Arnold, 3 F.4th 152, 162 (5th Cir. 2021) (quoting Kemp v. G.D.
Searle & Cor., 103 F.3d 405, 407 (5th Cir. 1997)). Here, the answers have important implications
for Google’s constitutional rights. The Due Process Clause and the Excessive Fines Clause each
require the Court (not the jury) to assess the proportionality of fines and penalties as compared to
the harm caused. See Bajakajian, 524 U.S. at 339; see also Timbs v. Indiana, 586 U.S. 146, 150-
151 (2019) (“The Excessive Fines Clause is … incorporated by the Due Process Clause of the
Fourteenth Amendment,” “guards against abuses of government’s punitive or criminal-law-
enforcement authority,” and “protect[s] against excessive punitive economic sanctions,” making it
“fundamental to our scheme of ordered liberty and deeply rooted in this Nation’s history and
tradition.”) (emphasis added) (citations omitted).

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Google understands Plaintiffs wish to set a date for a hearing on their motion, the timing of which

can also be addressed at the conference.

                                                     ***

       For each of these reasons, Google respectfully requests that the Court set a Rule 16

conference for January 17, 2025, or as soon thereafter as the Court is available, so it can establish

a schedule to address these important, unresolved matters prior to trial.



 January 7, 2025                                     Respectfully submitted,

                                                     GIBBS & BRUNS LLP


                                                     /s/ Kathy D. Patrick_______________
                                                     Kathy D. Patrick
                                                     Texas Bar No. 15581400
                                                     kpatrick@gibbsbruns.com
                                                     Robin C. Gibbs
                                                     Texas Bar No. 07853000
                                                     rgibbs@gibbsbruns.com
                                                     Charles Rosson
                                                     Texas Bar No. 24074985
                                                     crosson@gibbsbruns.com
                                                     1100 Louisiana, Suite 5300
                                                     Houston, Texas 77002
                                                     Tel.: 713.650.8805
                                                     Fax.: 713.750-0903

                                                     Eric Mahr (pro hac vice)
                                                     Julie S. Elmer (pro hac vice)
                                                     FRESHFIELDS BRUCKHAUS DERINGER
                                                     LLP
                                                     700 13th Street NW, 10th Floor
                                                     Washington, D.C. 20005
                                                     (202) 777-4545
                                                     eric.mahr@freshfields.com
                                                     julie.elmer@freshfields.com

                                                     Daniel S. Bitton (pro hac vice)
                                                     AXINN, VELTROP & HARKRIDER LLP

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                                                      55 Second Street
                                                      San Francisco, CA 94105
                                                      (415) 490-1486
                                                      dbitton@axinn.com

                                                      Bradley Justus (pro hac vice)
                                                      James K. Hunsberger (pro hac vice) David R.
                                                      Pearl (pro hac vice)
                                                      AXINN, VELTROP & HARKRIDER LLP
                                                      1901 L Street NW
                                                      Washington, DC 20036
                                                      (202)912-4700
                                                      bjustus@axinn.com
                                                      jhunsberger@axinn.com
                                                      dpearl@axinn.com

                                                      ATTORNEYS FOR
                                                      DEFENDANT GOOGLE LLC



                                 CERTIFICATE OF SERVICE

       I certify that on January 7, 2025, this document was filed electronically in compliance with
Local Rule CV-5(a) and thus served on all counsel who have consented to electronic service.


                                               /s/ Kathy D. Patrick_______________
                                               Kathy D. Patrick



                                  CERTIFICATE OF CONFERENCE

        Pursuant to the Local Rules, I confirm that I conferred with Zeke DeRose III, counsel for
the State Plaintiffs, on January 6, 2025. Mr. DeRose advised that Plaintiffs did not oppose this
request for a status conference. Given the number of counsel involved, Mr. DeRose stated that it
would be helpful to have proposed dates on which the Court is available for this conference so that
lead counsel for the States, Mr. Lanier, can coordinate his attendance at this conference with a trial
currently set to begin in Los Angeles on January 21, 2025.


                                               /s/ Kathy D. Patrick_______________
                                               Kathy D. Patrick




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